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   f)})   UnitedHealthcare··
                        Community Plan
   1311 W. Presidtlnt George Bush Hwy.    Richardson. TX 75080


   April 16, 2019




   Senior Healthcare Outreach Program
   Attn: Alexander Salerno, MD
   613ParkAve
   East Orange NJ 07017-1905

   *Important Correction to Previous Letter - New Contract Ending Date"'

   Re: Your UnitedHealthcare Community Plan Contract, on Behalf of AmeriChoice of New Jersey. Inc. and
   its Affiliates, Won't be Renewed and Will End on Nov, 19, 2019.

   Dear Alexander Salerno, MD:

   We periodically assess our networks to help ensure they meet the needs of our members. As a result. we
   sometimes have to make difficult decisions around care provider contracts. Unfortunately, we've decided not to
   renew your UnitedHealthcare community Plan Agreement. This means your contract will end on Nov. 19, 2019.

   Important Points
    • Your UnitedHealthcare Community Plan Agreement includes Medicaid, Children's Health Insurance
        Program (CHIP) and Dual Complete Medicare Advantage benefit contract types.
    • We're sending this letter to you in accordance with the terms of your Agreement.
     • This change doesn't affect any other Participation Agreements you currently have with UnitedHealthcare .
     .. We'll communicate this change ln your participation status to your UnitedHealthcarc New Jersey
        Community Plan Medicaid, CHIP and Dual Complete Medicare Advantage patients in accordance with any
        laws that may apply.

   Appeal Rights
   You may have the opportunity to appeal. To understand your appeal rights, please refer to the enclosed
   Appeal Process document. The scope of the appeal panel's review of your appeal is limited to determining
   whether UnitedHealth.care acted according to the provisions of your Agreement. The panel will only consider
   information that is relevant to the scope of the panel's review of your appeal.

   We're Here to Help
   We understand that this change may be of concern to you. We're ready to answer your questions and hear your
   concerns. We also want to help your patients, who are New Jersey Community Plan Medicaid, CHIP and Dual
   Complete Medicare Advantage members, access necessary care within their plan's network.

   lfyou have questions or wish to provide information that can help us make this process easier for you or your
   patients, please call 888-362-3368, 9 a.m. - 6 p.m. ET. Thank you for the service you've provided our New Jersey
   Community Plan Medicaid, CHIP and Dual Complete Medicare Advantage members.

   Sincerely,
    ~~~
   Michele Nielsen
   Vice President, Network Management

   Enclosure
   Doell: PCA-1-015117-03132019_03142019
   @ 2018 United HaalthCaro   Services, Inc.
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                                               Appeal Process
    Who J\fov A.m)eal
    You may request an appeal before a panel appointed by UnitedHealthcare as described in this document
    ii:
    l. You were removed from UnitedHealthcare's network by way of termination without cause and:
    •   You were removed from UnitedHealthcare 's network maintained for any l\ lc,lit-an• Ad rnnl :1\!l'
       benefit plan. This opportunity to appeal applies to physicians only;
        You were removed from UnitedHcalthcare's network maintained for any l\ll'dirailt. ClllP or :rnv
        ol IH·r SIHft· nro_gp1111 ("Medicaid or other State Program") benefit plans in any of the following
        states:
        •    Delaware
        ,.   Florida
        •    Maryland
        ..   Massachusetts
        •    Pennsylvania
        "'   New Jersey: You do not have an opportunity to appeal in a case involving imminent harm to
             patient care, a determination of frnud, or a final disciplinary action by a state licensing board or
             other governmental agency that impairs your ability to practice. This opportunity to appeal does
             not apply to hospitals or any other facility.
        "    New York: This opportunity to appeal does not apply to hospitals or any other facility.
        •    Texas: You do not have an opportunity to appeal in a case involving imminent harm to a patient's
             health, an action by a state medical or other physician licensing board or other government
             agency that effectively impairs your ability to practice medicine, or fraud or malfeasance.


    •   You were removed from UnitedHealthcare's network maintained for any .commercial benefit plan in
        any of the following states:
        "' California: You only have the opportunity to appeal if UnitedHealthcare has substantial market
            power and your removal from UnitedHealthcare's network would significantly impair your
            ability to practice in a particular geographic area. This opportunity to appeal applies to
            physicians only.
        • Delaware
        •    Maine
        •    Missouri: This opportunity to appeal does not apply to hospitals or any other facility.
        •    New Jersey: This opportunity to appeal only applies to (a) physicians, physician assistants,
             dentists, podiatrists" and any other health care professional licensed pursuant to Title 45, and (b)
             hospitals and other facilities licensed pursuant to Title 26.
        •    New York: This opportunity to appeal onJy applies to physicians, physician assistants, dentists,
             podiatrists and any other health care professional licensed., registered or certified pursuant to Title
             8 of the New York Education Law.
        •    Rhode Island: This opportunity to appeal does not apply to hospitals or any other facility.
        •    Texas
        •    Vermont
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     2. You were removed from UnitedHea[thcare's network by way of nonrenewal of your participation
     agreement and:
     • You wet-e removed from UnitedHealthc.nrc's network maintained for any l\h'dirar(• Ach:1111:1!.'t'
         benefit plan. This opportunity to appeal applies to physicians only.
     • You were removed from UnitedHealthcare' s network maintained for any l\1Nikai1I. Cl Ill' or a ll'I_
         1Jflw1- ~la!l:JH·fil!.r:un ("Medicaid or other State Program") benefit plan in any of the following states:
         • Massachusetts
         " Texas
     •   You were removed from UnitedHealthcare's network maintained for any c11111111errhtl benefit plan in
         any of the following states:
             Delaware
         •   Maine
         •   Texas
         •   Vermont

     You also have the opportunity to appeal your removal from UnitedHealthcare's network if this
     opportunity is granted to you under the terms of your participation agreement.

     Plea&e note the following: A termination without cause is not based on a provision in the pa1tici1-mliuu
     agreement that specifics a pa1ticular cause that is needed in order to tenninate the agreement. By way of
     example, a termination without cause is based on a provision in the participation agreement that reads
     along the Jines of, "either you or we can tenninate this agreement by providing at least 90 days' prior
     written notice." A tennination without cause is not, for instance, a nonrenewal or a termination of a
     physician's participation status for material breach or tennination ofa physician's participation status for
     failure Lo comply with UnitcdHealthcare's Credentialing Plan, loss of licensurc, or a sanction imposed by
     any governmental agency or authority, including Medicare or Medicaid. A nonrenewal is an action
     taken by Unitec!Heallhcare to not renew your pai1icipation agreement. By way of example, a nonrcncwal
     is based on a provision in the participation agreement that reads along the Jines of, ''either you or we can
     tenninate this agreement, clfo:Livc on an mmivt~rsru:y ol'_ih~ _<lak )his agrcc111t:nt lwd11~, by providing at
     least 90 days' prior written imtice."

     :-:t·opc of I he An1wal l'm1tl's Rl',·k,1
     The scope of the appeal panel's review of your appeal is limited to determining whether
     UnitedHealthcare acted in accordance with the provisions of your parHcipation agreement. The
     appeal panel will only consider information that is relevant to the scope of the appeal panel's
     review of your appeal.

     thiw tu lkque,1 1111 Alli_J,·;11
     Except as indicated below, if you would like to appeal, you must request an appeal within 30 calendar
     days after the date of the attached notice.
         " Maryland - If you are removed from ihc network maintained for Maryland Medicaid or other
             State Program benefit plans you must request an appeal or object to your removal from the
             net work within 90 business days after the date of the attached notice.
         • New Jersey - If you are removed from the network maintained for commercial benefit plans in
             New Jersey or New Jersey Medicaid or other State Program benefits plans, you must request an
             appeal within 10 calendar days after the date of the attached notice.
         • Texas - If you are removed from the network maintained for Texas Medicaid or other State
             Program benefits plans, you must request an appeal within 60 calendar days after the date of the
             attached notice.




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    ln order to request an appeal, you must complete the attached Appeal Submission Form and submit the
    form, ;1h,11!: _w.i1ha enp_y_ uf'lltr all,1chcd.i10tir:: to UnitedHealthcare at the address below. If you have any
    information that is relevantto the scope of the appeal panel's review and you would like the appeal panel
    to consider that information, you must provide the relevant information in your appeal request.
    Please note that you are not required to submit information for the appeal panel's consideration. If you
    decide to submit relevant information, we will make available to panel members copies of the relevant
    information you submit.

    Your appeal request is deemed to have been given on the date in which UnitedHealthcare receives your
    appeal request at the address below.

                                                 UnitedHealthcare
                                          Attn: Provider Contract Appeals
                                                    P.O. Box 31376
                                           Salt Lake City, UT 84131-0376


    \Vhen_the A_pJH';1I WillJk Cundurh·d
    Except as indicated below, the appeal panel will review any relevant information submitted to the panel
    within 30 calendar days afler the date UnitedHealthcare receives your request for an appeal.
        " Medicare Advantage - If you only have an opportunity to appeal based on your removal from
            the network maintained for Medicare Advantage benefit plans, you may present io the appeal
            panel your views of the decision to remove you from the network. The appeal panel aims to
            review relevant information within 60 calendar days after the date UnitedHealthearc receives
            your request for an appeal at the address above.
        " Opportunity to Appeal Under Your Participation Agreement - If you only have an
            opportunity to appeal under the terms of your participation agreement based on your removal
            from the network, or you only have an opportunity to appeal under the tenns of your participation
            agreement and based on your removal from the network maintained for Medicare Advantage
            benefit plans, the appeal panel aims to review relevant infonnation within 60 calendar days after
            the date UnitedHealthcare receives your request for an appeal at the address above.

    If you have an opportunity to appeal as indicated above, you may request that the appeal panel conduct a
    hearing in lieu of a review of relevant information only if:
        " UnitedHealthcare has removed you from its network maintained for Medicare Advantage
            benefit plans;
        • UnitedHealthcare has removed you from its network maintained for Medicaid or other State
            Progrant. benefit plans i~ the follq~n_g state_s: Dehnvarc; Flor~da; M~ssa.<;hµsett.s; New Jcr~cy;
             New York; Pennsylvanja;
        •   UnitedHealthcare has removed you from its network maintained for commercial benefit plans in
            the following states: California; Maine; Missouri; New Jersey; or New York; or
        •   UnitedHealthcare has removed you from its network and the tenns of your participation
            agreement specifically indicate that you may request a hearing based on your removal from the
            network.

    If you are eligible for a bearing, as indicated above, and you would like the appeal panel to conduct a
    hearing, you must specify in your appeal requci;t that you are requesting a hearing. The hearing will be
    held within the same timefi"ame as your review would have been held (see the timeframes set forth
    above). If you do not specify in your appeal request that you are requesting a hearing, the appeal panel
    will review any relevant information available to it and you will have no further opportunity to appeal
    unless this opportunity is granted under applicable law or tbe terms of your participation agreement.


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     UnitedHealthcare will inform you of lhe date and time of your hearing. Your hearing will be conducted
     via a conference call and your presence during the call is requited. UnitedHealthcare will provide you
     with information for the conference call. If you fail to call into the hearing within 10 minutes after the
     scheduled time or fail to call into the hearing at all at the time that UnitedHealthcare schedules for you,
     the appeal panel will conduct a review of any relevant information that is available to the appeal panel
     and you will have no further opportunity to appeal unless this opportunity is granted under applicable
     law or the terms of your participation agreement.

     Failure to submit an appeal request within the required timeframe and in the manner described in this
     document will constitute a waiver of your opportunity to appeal. In the case of such a waiver, you are
     deemed to have accepted your removal from UnitedHealthcare's network.

     Once the appeal panel conducts the appeal, you have no further opportunity to appeal unless this
     opportunity is granted to you under applicable law or the terms of your par:ticipation agreement.

     Wht.n Vou Will Uc: Nolifietl nffhl' lkd~iou lfrgi1rding Your Appeal
     Except as indicated below, you will be notified in writing of the decision regarding your appeal within 30
     calendar days after the date in which the appeal panel reviews the relevant infonnation submitted or
     l:011uuds yuur lJ~aring (if a hearing was conducted) or you will be notified in writing of the decision
     within a shorter timeframe if required by applicable law.
          • Medicare AdYantage · If you only have an opportunity to appeal based on your removal from
             the network maintained for Medicare Advantage hcnctit plans, tJnitcciHcalthcare aims to notify
             you of the decision before the effective date of your removal from the network.
          " Opportunity to Appeal Under Your Participation Agreement - If you only have an
             opportunity to appeal under the terms of your participation agreement based on your removal
             from the network, or you only have an opportunity to appeal under the terms of your participation
             agreement and based on your removal from the network maintained for Medicare Advantage
             benefit plans, UnitedHealthcare aims to notify you of the decision before the effective date of
             your removal from the network.
          " Texas - If you are removed from the network maintained for commercial benefit plans in Texas
             or Texas Medicaid or otller State Program benefit plans, UnitedHealthcare will provide you the
             appeal panel's recommendation, if any, upon request. If you are removed from the network
             maintained for commercial benefit plans in Texas, upon request, UnitedHealthcare will provide
             you a written explanation of its decision regarding your appeal if UnitedHcalthcare's decision is
             contrary to the appeal panel's reconunendation. The appeal panel's recommendation must be
             considered but is not binding on UnitedHealthcare.

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     On request, UnitedHealthcare will make an expedited appeal available to you. You must indicate in your
     appeal request whether you are requesting an expedited appeal. You must request an expedited appeal in
     accordance with the terms set forth in the "How to Request an Appeal" section above within 10 business
     days alter the date of the attached notice and include in your appeal request :reloyapt inf9lll'lation you
     would like the appeal panel to consid~~ if any. If you have requested an expedited appeal, please note
     that !lil expedited n:view of relevant infonnation will be conducted. E1:>p1.!d!LrJ!JJ9i.!Jin,g-; :ire ,,~1_11)1v:1illihl,:.

     lf you request an eKpedited appea!, a decision regarding your appeal will be provided to you within 30
     calendar days after the date inwhichUnitedHealthcare receives your appeal request

     Once the appeal panel reviews any relevant information for your expedited appeal, you have no further
     opportunity to appeal unless this opportunity is given t.n you under applicable law or the terms of your
     participation agreeinent.


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   Ir, <rn .\n· Di!>s:dbfictl with il1t· lk('hi1111 Hc;::1nll11g Yo11r Ap11e:d
   If you are dissatisfied with the decision regarding your appeal, you may contact your network
   management representative. If you do not know who your contact is, information is available at
   UnitedHealthcareOnline.com > Contact Us > Network Contacts. You may also request a second level
   appeal if such opportunity is granted to you under the tenns of your participation agreement or you are
   removed from the network maintained for (1) Florida Medicaid or other State Program benefit plans, or
   (2) Maryland Medicaid or other State Program benefit plans. Otherwise, you may exercise any rights
   available to you under the tenns of your participation agreement. In the event of a conflict or
   inconsistency between your participation agreement and this document, the provisions of your
   participation agreement will control unless applicable law dictates otherwise.




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  f, UnitedHealthcare~
       PO Box 31376, Salt Lake City, UT 84131-0376




                                                                              MAY 3 0 REC'D
  May 22. 2019


  GUETTY GABAUD
  613 PARKAV EFL 1
  EAST ORANGE NJ 07017-1905

  PERSONAL AND CONFIDENTIAL


  Re: Z1422100001-Appeal Opportunity Exhausted

  Dear Guetty Gabaud:
                                                                                                           to
  This letter acknowledges receipt of your request for an additional appeal of UnitedHealthcare's decision
  remove you from participating in one or more UnitedHealthcare networks referenced in    the notice that was
  provided regarding your removal from the network(s).

   An appeal panel conducted your review on April 19, 2019. The decision was made to
                                                                                     uphold
   UnitedHealthcare's decision to remove you from participating in one or more UnitedHealthcare networks.

   At this point, all opportunities to appeal have been exhausted. Consequently, your request for an
   additional appeal is denied. You may exercise any rights available under the terms of the provider
   participation agreement.
                                                                                                nt
   If you have any questions or concerns, please contact your UnitedHealthcare Network Manageme
   Representative. Thank you.

   Sincerely,

   Sonja A.
   Central Escalation Unit
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                    Communit y Pian
    Hot Springs AR 71903-3367



                                                                                          Question s?
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    DAGi\.1AR AUX                                                                         We're here to help.
    431 N 11TH ST FL2                                                                     Toil-Free 1-800-Ji41 -464 7
    NEVvARK NJ 07107-180 3                                                                TTY 711, 8 a.m. - 6 p.m. ET
    11 f11, ,I I I11111 l!11, 111,1, ill! 11 I11 I111 111 1l 11111 d 111 I!! 111 111' I   h.'.onday - Friday




   June 26, 2019

   Dear UnitedHea lthcare Community Plan Member,

   Your Primary Care Provider {PCP), SVETLANA N. SALERNO, will no longer be a doctor with
   UnitedHea! thcare Community Plan effective 3/17/2016. UnitedHea lthcare Community Plan
   wants to make sure that you have a doctor to go to if you need health care, so we have
   picked another United Healthcare Community Plan doctor for you in your area. You can still
   see the doctor you have now until 3/17/2016 . But, if you would !lke 'to cl1ange to your new
   PCP now, please call our Member Services at 1-800-941 -4647, TTY 711 and we will be
   happy to help you. Our Customer Care Profession als are available to help you 8 a.m. - 6
   p.m. ET Monday - Friday.

   Effective 3/i 8/2016, the new United Healthcare Community Plan PCP we have picked for
   you is:

                VELMA A. FRASIER
                444 WILLIAMS Si
                EAST ORANGE, NJ 07017
                97367519 00

   If you would like another doctor instead of VELMA A. FRASIER, please call our Member
   Service Center and we wm be happy to help you.

   Please ask your new doctor to get your medical information from your old PCP. You can do
   this when you visit your new PCP's office by signing a ref ease form.




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 When your PCP changes, you will receive a new UnitedHealthcare Community Plan ID card
 with the name of your new doctor. If you have any questions, or you do not receive your
 card, please cat! our Member Services at 1-800-941-4647, lTY 711; we are always here to
 help you. You may use this letter as proof of your enrollment in UnitedHealthcare
 Community Plan if your new ID card does not arrive on time. You should stm use your
 current JD card until the effective date for your new doctor.

 Sincerely,

 UnitedHealthcare Community Plan
 Enro!!ment Department
             1781MB!MPL!J.N:oW0003001--02876--02
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                                                                      l Tiene pregun tas?
              DAGMAR AUX                                              Estamos aqui para ayudarle .
              4 31 N 11 TH ST FL 2                                    Numero gratuito 1-800-9 414647
              NEWARK NJ 07107-1803                                    TTY 711, 8 a.m. - 6 p.m. ET de
                                                                      lunes a viernes




            June 26, 2019

            Estimado(a) Miembro de UnitedHealthcare Commun ity Plan:

            Su Proveedo r de atenci6n primar1a (PCP por su siglas en ing!es), SVETLANA N. SALERNO
                                                                                                       ,
            ya no sera un medico con UnltedHea!thcare Commun ity Plan a partir del 3/17/201 6.
            UnitedHea!thcare Commun ity Plan quiere asegurarse de que usted tenga un medico a
            quien acudir si necesita atenci6n medica, asi que hemes elegido otro medico de
            UnitedHe althcare Commun ity P!an para usted en su area. Puede seguir viendo al medico
            que tiene ahora hasta el 3/17/201 6. Pero, si le gustaria cambiar a su nuevo PCP ahora,
            l!arne a nuestro Centro de Servicios para los Miembro s a! 1..S00-94 1-4647 o ITY 711 y
            nos complace ra ayudarle. Nuestros Profesionales de atenci6n al cliente estan disponibl es
            para ayudarle 8 a.m. - 6 p.m. ET de !unes a viernos.

            A partir del 3/18/201 6, el nuevo PCP de UnitedHe althcare Commun ity Plan que hemos
            elegido para usted es:

                   VELMA A. FRASIER
                   444 WILLIAM S ST
                   EAST ORANGEt NJ 07017
                   9736751 900

            Si le gustaria tener otro medico en Jugar de VELMA A. FRASIER, !lame a nuestro Centro de
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    Servicios para los Miernbros y nos cornplacera ayudarle.

    Pida a su nuevo medico que obtenga su inforrnaci6n rnedlca de su PCP anterior. Usted
    puede hacer esto cuando visite el consultorio de su nuevo PCP firrnando un formulario de
    divulgaci6n.

    Cuando su PCP cambie, usted recibira una nueva tarjeta de identificaci6n de
    UnitedHealthcare Community Plan con el nombre de su nuevo medico. Si tiene preguntas,
    o no recibe su tarjeta, !lame a nuestro Centro de Servicio al Cliente al 1-800-941-4647 o
    TTY 711; siempre estamos aquf para ayudarle. Puede usar esta carta como prueba de su
    inscripci6n en UnitedHealthcare Community Plan sl su nueva tarjeta de identificaci6n no
    llega a tiempo. Usted debe seguir usando su tarjeta de identificaci6n actual hasta la fecha
    de entrnda en vigencla de su nuevo medico.

    Atentamente,

    UnitedHealthcare Community Plan
    Departamento de Afiiiaci6n
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               1-800-941-464 7, ITY 711
